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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANAH DIVISION

BRANDY HEWITT,                           )
                                         )
                                         )    CIVIL ACTION
      Plaintiff,                         )    FILE NO:
                                         )
vs.                                      )    FAIR LABOR STANDARDS ACT
                                         )    ACTION
CITY OF PORT WENTWORTH,                  )
                                         )
      Defendant.                         )

                                  COMPLAINT

      COME NOW, Plaintiff who hereby brings this action under the Fair Labor

Standards Act, 29 U.S.C.§ 201, et seq., (hereinafter FLSA) for unpaid overtime

compensation, liquidated damages, reasonable expenses of litigation, and attorneys'

fees, on the grounds set forth below:

                          JURISDICTION AND VENUE

                                          1.
      The jurisdiction of this Court is invoked under 28 U.S.C. §1331 and §1337.

This Court also has jurisdiction pursuant to 29 U.S.C. § 216(b).




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                                      2.

      Pursuant to 28 U.S.C. §1391, venue is appropriate in this judicial district as

the Defendants conduct business and maintain a registered agent within the Southern

District of Georgia.

                                     PARTIES

                                      3.

      Plaintiff was a Corporal for the Criminal Investigations Division as a

Detective who was denied overtime compensation during the terms of her

employment.

                                      4.

      Plaintiff brings this action pursuant to 29 U.S.C. §216(b).

                                           5.

      Defendant City of Port Wentworth is a Government Entity formed under the

laws of the State of Georgia which works closely with all segments of the general

public and government. The Defendant may be served with process through the

Mayor, Gary Norton, 7224 GA HWY 21, Port Wentworth, GA 31407.




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                                          6.

      Defendant is an employer within the meaning of FLSA §203(d) and is not an

exempt employer under the Act.

                                          7.

      Defendant, Sgt. Abby Brown is the officer for Port Wentworth Police

Department who was acting in the interest of the Port Wentworth Police Department

when they set the terms and conditions of employment for the Plaintiff, including

the decision not to pay Plaintiff overtime and change her timesheet.

                                          8.

      By not paying overtime, Defendant, were able to personally profit more and

pay themselves a greater profit, salary and/or benefits.

                           FACTUAL ALLEGATIONS

                                          9.

      Upon information and belief, Defendant has in the past and currently employs

over 25 employees as in the metropolitan Atlanta area.

                                         10.

      Plaintiff seeks to represent employees engaged in interstate commerce

expressly covered by the protections of the FLSA, 29 U.S.C. §207(a).

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                                          11.

      The main purpose of Plaintiff’s job was to assist with currency exchange to

various countries.

                                          12.

      At all times relevant to this case, the Plaintiff was not responsible for

supervising any other employees.

                                          13.

      At all times relevant to this case, Plaintiff did not possess the authority to hire

or terminate employees.

                                          14.

      Plaintiff also lacked the authority to formally participate in the

recommendation for hiring and termination decisions.

                                          15.

      At all times relevant to this action, Plaintiff possessed no independent

discretion regarding laws and how the police department handled business; Plaintiff

did not otherwise possess discretion or exercise independent judgment in the daily

activities performed.



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                                        16.

      At all times relevant to this action, Plaintiff was required to work a specific

schedule and had to clock in and out of work.

                                        17.

      At all times relevant to this action, Plaintiff was docked for both hours and

days missed due to illness, accident or other absences.

                                        18.

      From approximately June 14, 2021, to September 15, 2021, Defendant

required Plaintiff to work in excess of 40 hours per workweek.

                                        19.

      From approximately June 14, 2021, to September 15, 2021, Defendant did not

compensate Plaintiff for time worked in excess of 40 hours per week on a basis of

one and one-half times the regular rate of pay at which she was employed.

                                        20.

      Defendant’s fail to meet the requirements for any of the exemptions from

application of the overtime compensation requirements of the Fair Labor Standards

Act under 29 U.S.C. §207.



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                                          21.

      Defendant’s are liable to Plaintiff for any and all time worked in excess of 40

hours per week at the rate of at least one and one-half times the regular hourly rate.

                                      Count I

                 (CLAIM FOR RELIEF UNDER FLSA § 207)

                                          22.

      The above facts support Plaintiff’s claims for relief under the FLSA.

                                          23.

      Defendant’s failure to compensate Plaintiff for time worked in excess of 40

hours per week is a violation of §207 of the Fair Labor Standards Act of 1938, as

amended. Such violation is intentional and willful. Said violation gives rise to a

claim for relief under the FLSA for Plaintiff for unpaid overtime compensation for

three years prior to the filing of this Complaint, liquidated damages in an amount

equal to the unpaid compensation, declaratory and injunctive relief, and reasonable

attorneys fees and expenses of litigation, pursuant to 29 U.S.C. §216.

      WHEREFORE, the Plaintiff requests this Court:

(a)   Take jurisdiction of this matter;



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(b)   Permit this case to proceed as an FLSA collective action under 29 U.S.C.

      §216 for Defendants who elect to participate in this action by filing proper

      written notice with the Court;

(c)   Grant a trial by jury as to all matters properly triable to a jury;

(d)   Award to Plaintiff and to each member of the opt-in class payment for each

      overtime hour worked in the three years preceding the filing of this

      Complaint, calculated at one and one-half times the normal rate, liquidated

      damages equaling 100% of overtime due each class member, and

      prejudgment interest on all amounts owed, as required by the FLSA;

(e)   Issue a declaratory judgment.

(f)   Award Plaintiff her attorney's fees and costs; and

(g)   Award any other such further relief this Court deems just, equitable and

proper.

                                  JURY DEMAND

      Plaintiff herein requests trial by jury of all issues in this action.

      This 3rd day of October, 2022.




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                             THE LEACH FIRM, P.A.

                             /s/Adeash Lakraj_____________
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